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 5                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7   UNITED STATES OF AMERICA,
                                                        No.       2:13-CR-0008-WFN-36
 8                               Plaintiff,
                                                        ORDER AUTHORIZING PAYMENT
 9          -vs-                                        OF TRANSPORTATION EXPENSES
10   KARLYNN ROMEO TONES,                                     UNITED STATES MARSHAL
                                                                 ACTION REQUIRED
11                               Defendant.
12
13          Before the Court is Defendant's Motion for Payment of Transportation Expenses.
14   ECF No. 2796. Defendant, who resides in Los Angeles, California, requests funds to
15   travel to this district in order to attend his trial. The Court FINDS that:
16              1. The Defendant has been appointed counsel in this case due to his financial
17          incapacity; and
18              2. The Defendant is unable to fund his own travel due to the same incapacity.
19   Accordingly,
20          IT IS ORDERED that:
21          1. Defendant's Motion for Payment of Transportation Expenses, filed on October 7,
22   2014, ECF No. 2796, is GRANTED.
23          2. The United States Marshals Service shall provide the means for Defendant to
24   travel from Los Angeles, California to Spokane, Washington for the trial set to commence
25   on October 14, 2014 at 9:00 a.m. He shall arrive in Spokane in sufficient time to meet
26   with counsel prior to the start of trial.
27          3. The United States Marshals Service shall arrange for Defendant's transportation
28   back to Los, Angeles California, if required, upon completion of the trial.


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 1              4. The United States Marshals Service has the discretion to choose the mode of
 2   transport based on fiscal consideration.
 3              5. Defendant's Emergency Motion to Allow Removal of Ankle Bracelet for Air
 4   Travel, filed October 7, 2014, ECF No. 2797, is GRANTED.
 5              6. Defendant's ankle bracelet shall be removed no later than October 12, 2014 to
 6   permit him to board a plane.
 7              7. Defendant shall continue on all conditions of pretrial release previously imposed
 8   with the following modifications/ reminders:
 9                 (a) Defendant shall live in an approved residence. Defendant shall notify
10   Pretrial Services no later than noon on Friday, October 10, 2014, of his proposed living
11   situation while in the Eastern District of Washington.
12                 (b) Defendant shall remain in the Eastern District of Washington for the
13   duration of the trial and until otherwise ordered by the Court.
14                 (c) Defendant shall continue on EM monitoring with GPS once in the Eastern
15   District of Washington. He shall report to Pretrial Services in Spokane, Washington on
16   October 14, 2014 to have the device[s] put on.
17              8. Failure to comply with the conditions listed above may result in Defendant
18   being taken into custody.
19              The District Court Executive is directed to file this Order and provide copies
20   to counsel, the Spokane United States Probation Office, AND TO the United States
21   Marshals Service--ACTION REQUIRED.
22              DATED this 8th day of October, 2014.

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                                                    s/ Wm. Fremming Nielsen
25                                                    WM. FREMMING NIELSEN
     10-08-14                                  SENIOR UNITED STATES DISTRICT JUDGE
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